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ATTORNEYS FOR DEBTORS
AND DEBTORS-IN-POSSESSION

                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION
_____________________________________
In re:                                §      Chapter 11
                                      §
NGV GLOBAL GROUP, INC., et al.,1      §      Case No. 22-42780-MXM-11
                                      §
            Debtors.                  §      (Jointly Administered)
                                      §
____________________________________ §       Expedited Hearing Requested

         DEBTORS’ EXPEDITED MOTION FOR ENTRY OF ORDER (I) AUTHORIZING
        DEBTORS TO CONTINUE PRE-PETITION INSURANCE PROGRAMS WITH THE
        HARTFORD, (II) AUTHORIZING DEBTORS TO PAY PRE-PETITION PREMIUMS
           AND RELATED OBLIGATIONS, AND (III) GRANTING RELATED RELIEF

TO THE HONORABLE MARK X. MULLIN, UNITED STATES BANKRUPTCY JUDGE:

         COME NOW NGV Global Group, Inc. (“NGV Global”), Natural Gas Vehicles Texas, Inc.

(“NGV Texas”), Natural Gas Supply, LLC (“NGS”), and Natural Gas Logistics Inc. (“NGL”, and

collectively with NGV Global, NGV Texas, and NGS, the “Debtors”), as debtors and debtors-in-

possession, and file Debtors’ Expedited Motion for Entry of Order (i) Authorizing Debtors to

Continue Pre-Petition Insurance Programs with The Hartford, (ii) Authorizing Debtors to Pay Pre-




1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: NGV Global Group, Inc. (9723), Natural Gas Vehicles Texas, Inc. (8676), Natural Gas Supply, LLC
(4584) and Natural Gas Logistics Inc. (5403).


Debtors’ Expedited Motion for Entry of Order (i) Authorizing Debtors to Continue Pre-Petition Insurance Programs
With The Hartford, and (ii) Authorizing Debtors to Pay Pre-Petition Premiums and Related Obligations, and (iii)
Granting Related Relief.                                                                                        Page 1
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Petition Premiums and Related Obligations, and (iii) Granting Related Relief (the “Motion”). In

support of the Motion, the Debtors respectfully state as follows:

                                                    SUMMARY

          1.       The Debtors operate as part of a related group of global technology companies that

design, manufacture, distribute and support natural gas operated medium and heavy-duty

commercial vehicles sold worldwide. The companies convert vehicles to compressed natural gas

engines, refurbish and service existing class 8 vehicles powered by natural gas engines and

fueling systems for application in their own motor transportation business and for sale to third party

companies interested in the conversion of trucks and buses to operate on natural gas. The

companies are among the largest privately held natural gas logistics companies in the United

States.        As a group, the companies employed over 240 mechanics, driver, and logistics

professionals specializing in CNG vehicles.

          2.       NGL is a Texas corporation that operates as one of the largest privately-owned

100% alternative fuel transportation companies in the United States. NGL provides a range of

logistics services, including dedicated truckload, less-than-truckload, mail/e-commerce, rock

hauling, expedited and intermodal/drayage, and its customer base includes Amazon, PepsiCo,

Hobby Lobby, UPS, and the USPS. The transportation industry is among the largest contributors

to greenhouse gas emissions, and NGL helps its customers reduce carbon emissions by up to

85% and improve environmental, social, and governance scores. The NGL fleet consists of

medium and heavy-duty commercial alternative fuel vehicles, including CNG, renewable natural

gas (RNG), and hybrid electric vehicles.

          3.       The Debtors, as a group, carry several insurance policies with various insurance

companies. The Hartford (“Hartford”) provides NGL with its auto liability insurance for

$1,000,000.00 of coverage per incident (the “Policy”). The Debtors seek to pay a total $200,102.94

in past-due premiums to Hartford, including $196,795.94 in prepetition premiums.



Debtors’ Expedited Motion for Entry of Order (i) Authorizing Debtors to Continue Pre-Petition Insurance Programs
With The Hartford, and (ii) Authorizing Debtors to Pay Pre-Petition Premiums and Related Obligations, and (iii)
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                                         JURISDICTION AND VENUE

         4.       This Court has jurisdiction over these chapter 11 cases and the Motion pursuant to

28 U.S.C. §§ 1334 and 157(b), and venue is proper in this District pursuant to 28 U.S.C. §§ 1408

and 1409. The predicates for the relief requested in this Motion are sections 105(a), 362(d),

363(b), 1107(a) and 1108 of title 11 of the United States Code (the “Bankruptcy Code”) and Rules

4001, 6004 and 9019 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                                 BACKGROUND

         5.       On November 17, 2022 (the “Petition Date”), the Debtors filed voluntary petitions

for relief under Chapter 11 of the Bankruptcy Code.

         6.       The Debtors continue to manage and operate their businesses as debtors in

possession pursuant to sections 1107 and 1108 of the Bankruptcy Code. No trustee, examiner,

or committee has been appointed in these cases.

         7.       On November 22, 2022, the Court entered its Order Pursuant to Rule 1015(b) of

the Federal Rules of Bankruptcy Procedure Directing Joint Administration of Chapter 11 Cases

[Docket No. 28] requiring all orders, pleadings, papers, and documents to be filed in the NGV

Global chapter 11 case and establishing case no. 22-42780-11-mxm as the lead case in these

matters.

                THE DEBTORS’ INSURANCE PROGRAMS WITH THE HARTFORD

         8.       In connection with the operation of their businesses, the Debtors, as a group,

maintain various liability and property insurance policies and programs. The Debtors have worked

with their insurance providers, including Hartford, to continue and maintain all insurance policies

and programs post-petition.2 The Debtors have recently reached an agreement with Hartford to

deem the Policy continuing and uninterrupted in exchange for the Debtors’ agreement to pay past-


2The Debtors also maintain their workers’ compensation insurance with Hartford (the “Workers’ Compensation
Policy”). As of the date of this Motion, the Workers’ Compensation Policy is current. The Debtors are seeking not
seeking any relief related the Workers’ Compensation Policy with this Motion.


Debtors’ Expedited Motion for Entry of Order (i) Authorizing Debtors to Continue Pre-Petition Insurance Programs
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due and future premiums and other obligations as provided herein.

         9.       The Policy’s details are listed on Exhibit A. The chart on Exhibit A shows the

carrier, policy period, deductible or self-insured retention, policy limits, annual premium, and

premiums owed. The Debtors pay $989,691.00 annually to Hartford for NGL’s auto liability

coverage. Hartford currently holds a letter of credit in the amount of $500,000.00 from prior years.3

The Debtors also made a loss deposit with Hartford on the Policy in the amount of $19,192.00.

Under the Policy, the Debtors made an initial down payment equal to one month’s premium. The

Debtors’ premium is $92,783.00 per month, plus a monthly invoice for claims handling activities

made during that month under the $250,000.00 deductible (the “Loss Claims”). These Loss Claims

usually range between $5,000.00 and $10,000.00 per month.

         10.      As of this Motion, the Debtors owe two pre-petition premium payments in the total

amount of $185,566.00, two pre-petition Loss Claims in the total amount of $11,229.94, and one

post-petition Loss Claim in the amount of $3,307.00.4 The total amount of past-due premiums is

$200,102.94 (the “Owed Premiums”).5

         11.      Pursuant to the Debtors’ agreement with Hartford, the Debtors propose to pay the

Owed Premiums in two (2) equal installments. The Debtors will pay half of the Owed Premiums

($100,051.47) ten (10) days after entry of an order granting this Motion and the remaining half

($100,051.47) twenty (20) days after entry of an order granting this Motion. The Debtors will

continue to make premium and Loss Claim payments when and as due. Further, the Debtors have




3 Upon renewal of the Policy, Hartford requested an additional letter of credit in the amount of $200,000.00 (the

“LOC”). This additional LOC was not provided and the Debtors do not seek relief to do so by this Motion.
4 Hartford also asserts that the Debtors owe $691,483.00 based on a premium audit from its insurance policies with

Hartford in 2021 to 2022. Hartford has not yet filed a proof of claim related to this debt. The Debtors reserve all rights
to object or otherwise dispute this claim.
5The Debtors timely paid the post-petition premium due on December 18, 2022 and expect to timely pay the premium
due January 18, 2023.


Debtors’ Expedited Motion for Entry of Order (i) Authorizing Debtors to Continue Pre-Petition Insurance Programs
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agreed to provide Hartford with a “No Known Loss” letter upon entry of the Order granting this

Motion confirming that no new claims have been incurred under the Policy.

         12.      Additionally, the Debtors have agreed to conditional relief from the automatic stay

to permit Hartford to send a notice of cancellation to Debtors under the applicable law if (a) the

Debtors fail to make a timely payment for Owed Premiums or future premiums and Loss Claims,

and (b) Hartford provides written notice of any such missed payment to counsel for the Debtors

and the Debtors fail to cure such deficiency within ten (10) days thereafter.

         13.      During the negotiations related to this Motion, the Debtors and Hartford have

disagreed on the status of the Policy. Hartford maintained that the Policy had been canceled

pursuant to a cancellation notice issued prepetition that did not become effective until after the

Petition Date (the “Notice of Cancellation”). The Debtors have maintained that the Notice of

Cancellation was curable and that the automatic stay prevented the Policy from being cancelled.

Pursuant to the parties’ agreement, upon entry of the order granting this Motion, the Policy will be

deemed continuing and uninterrupted and the Notice of Cancellation will be deemed withdrawn.

                                             RELIEF REQUESTED

         14.      The Debtors request entry of an order substantially in the form attached hereto as

Exhibit B, (i) granting the Debtors the authority to pay Hartford the Owed Premiums as provided

herein and to continue making premium and Loss Claims payments as provided in the Policy, and

(ii) granting Hartford conditional relief from the automatic stay to issue a notice of cancellation if

Debtors fail to make timely payments as provided herein.

                                              BASIS FOR RELIEF

         15.      The Court has the authority to grant the relief requested in this Motion under

Bankruptcy Code sections 105(a), 362(d), 363(b), 1107(a) and 1108, and Bankruptcy Rules 4001,

6004 and 9019.

         16.      Section 105(a) of the Bankruptcy Code provides that “[t]he court may issue any



Debtors’ Expedited Motion for Entry of Order (i) Authorizing Debtors to Continue Pre-Petition Insurance Programs
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order, process, or judgment that is necessary or appropriate to carry out the provisions of this title.”

The purpose of section 105(a) is to permit bankruptcy courts the power to take actions that are

appropriate or necessary in the exercise of their bankruptcy jurisdiction. COLLIER ON BANKRUPTCY

¶ 105.01 (16th ed.).

         17.      To invoke the equitable powers of section 105(a), the Court must first rely on a

specific provision of the Bankruptcy Code to support the relief requested in the motion. In re

Oxford Mgmt., Inc., 4 F.3d 1329, 1334 (5th Cir. 1993); In re CoServ, L.L.C., 273 B.R. 487, 497

(Bankr, N.D. Tex. 2002). In these cases, sections 363(b), 1107 and 1108 provide such a bridge.

         18.      Section 363(b)(1) provides that the Debtors may use, sell, or lease property of their

estates outside the ordinary course of business after notice and a hearing. Courts generally

require only that a debtor “show that a sound business purpose” justifies the use of estate property.

In re Montgomery Ward Holding Corp., 242 B.R. 147, 153 (D.Del. 1999).

         19.      Section 1107(a) requires the debtor, as a debtor in possession, to perform all the

functions and duties of a trustee under the Bankruptcy Code. Section 1108 permits the debtor in

possession to operate its business. “Implicit in the duties of a Chapter 11 trustee or a debtor in

possession, as set out in sections 1106 and 704 of the Bankruptcy Code, is the duty to protect and

preserve the estate, including an operating business’s going-concern value.” In re CoServ, 273

B.R. at 497.

         20.      Further, it is well-established by case law that, under certain circumstances, a

debtor may pay certain pre-petition claims in the performance of the debtor’s fiduciary duty to

preserve the estate and the business’s going-concern value. See, e.g., Miltenberger v. Logansport

Ry., 106 U.S. 286, 312 (1882) (authorizing payment of pre-receivership claim prior to

reorganization permitted to prevent “stoppage of ... [crucial] business relations”); In re CoServ, 273

B.R. at 497 (noting that “it is only logical that the bankruptcy court be able to use section 105(a) of

the Code to authorize satisfaction of a prepetition claim in aid of preservation or enhancement of



Debtors’ Expedited Motion for Entry of Order (i) Authorizing Debtors to Continue Pre-Petition Insurance Programs
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the estate”).

         21.      Courts have developed the “Doctrine of Necessity” to determine whether a

proposed payment is necessary to preserve and protect the estate. See In re Just for Feet, Inc.,

242 B.R. 821, 825-26 (D. Del. 1999) (developing and discussing the doctrine); In re CoServ, 273

BR at 491-93 (discussing the doctrine). Generally, the Doctrine of Necessity allows a debtor to

pay pre-petition obligations if such payments are critical to a debtor’s reorganization.

         22.      In these cases, it is essential to the continued operation of the Debtors’ businesses

and their reorganization efforts that the Policy be maintained on an ongoing and uninterrupted

basis. The failure to pay insurance related obligations when they are due may affect the Debtors’

ability to maintain, obtain, or renew coverage.

         23.      If the Policy terminated or lapsed, the Debtors could be exposed to substantial

liability for damages or injuries to others. Also, pursuant to the terms of many of their leases and

commercial contracts, as well as the guidelines established by the Office of the United States

Trustee, the Debtors must remain current with respect to many of its insurance policies.

         24.      The Debtors have investigated whether it would be feasible and more economic to

obtain an auto policy through another provider. The Debtors determined that obtaining such

insurance during the bankruptcy case would be difficult and would require a larger initial cash

payment than the amount of Owed Premiums. Based on this, the Debtors have determined in

their business judgment that paying the Owed Premiums to continue the Policy is in the Debtors’

best interests.

         25.      To the extent the terms of the proposed order invoke the provisions of Bankruptcy

Rule 9019, such terms should be approved under Rule 9019 “if the settlement is ‘fair and equitable

and in the best interests of the estate.’” See In re Cajun, 119 F.3d 349, 355 (5th Cir 1977). Here,

the Debtors have determined in their business judgment that paying the Owed Premiums and

continuing the Policy is more cost beneficial than attempting to obtain new insurance at this time.



Debtors’ Expedited Motion for Entry of Order (i) Authorizing Debtors to Continue Pre-Petition Insurance Programs
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Consequently, the terms of the Debtors’ agreement with Hartford are fair and equitable and in the

best interests of the estates and creditors.

         26.      For similar reasons, cause exists to grant Hartford conditional relief from the

automatic stay, as provided herein, pursuant to section 362(d)(1) as a condition to Hartford’s

agreement to deem the Policy continuing and uninterrupted. It is critical that the Debtors continue

to maintain the Policy on an uninterrupted basis and be permitted to pay premiums and related

costs in the ordinary course of the Debtors’ businesses and consistent with pre-petition practices.

         27.      By making the requests in this Motion, the Debtors are not assuming any executory

contracts pursuant to section 365 of the Bankruptcy Code. The Debtors reserve all rights with

respect to the Policy.

                                WAIVER OF BANKRUPTCY RULE 6004(h)

         28.      Unless the Bankruptcy Court orders otherwise, Bankruptcy Rule 6004(h) provides

that all orders authorizing the use of property pursuant to section 363 of the Bankruptcy Code are

automatically stayed for fourteen (14) days after entry of such orders. Here, it is imperative to the

Debtors and their creditors that they be assured that proper insurance remains in place.

Accordingly, the Debtors hereby request that the Bankruptcy Court waive the fourteen-day stay

period under Bankruptcy Rule 6004(h).

                                                LIMITED NOTICE

         29.      Notice of this Motion has been or will be provided to (i) the Office of the United

States Trustee for the Northern District of Texas; (ii) counsel for Hartford; (iii) the Debtors’ secured

creditors; (iv) the Debtors’ top twenty unsecured creditors; and (v) all parties-in-interest who have

formally appeared and requested notice. The Debtors submit that such notice is sufficient and

proper under the circumstances, and that no other notice need be given.




Debtors’ Expedited Motion for Entry of Order (i) Authorizing Debtors to Continue Pre-Petition Insurance Programs
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                                                                          PRAYER

            WHEREFORE, the Debtors respectfully request entry of the attached proposed order

granting (a) the relief requested herein and (b) such other and further relief as is just and proper.

Dated: January 13, 2023                                                    Respectfully submitted,

                                                                           /s/ Jeff P. Prostok
                                                                           Jeff P. Prostok
                                                                           State Bar No. 16352500
                                                                           Lynda L. Lankford
                                                                           State Bar No. 11935020
                                                                           Emily S. Chou
                                                                           State Bar No. 24006997
                                                                           FORSHEY & PROSTOK, L.L.P.
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                                                                           jprostok@forsheyprostok.com
                                                                           llankford@forsheyprostok.com
                                                                           echou@forsheyprostok.com

                                                                           ATTORNEYS FOR THE
                                                                           DEBTORS AND DEBTORS-IN-POSSESSION


                                                         CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served upon
the parties listed below via email, and on the attached service list via United States Mail, first class
postage prepaid, or via ECF electronic Notice, if available, on January 13, 2023.

 United States Trustee                                                              Mark G. Ledwin
 Attn: Erin Schmidt, Trial Attorney                                                 Wilson Elser Moskowitz Edelman & Dicker LLP
 Attn: Elizabeth Young, Trial Attorney                                              1133 Westchester Avenue
 1100 Commerce Street, Room 976                                                     White Plains, NY 10604
 Dallas, TX 75242                                                                   914.323.7000 (Main)
 Email: erin.schmidt2@usdoj.gov                                                     914.323.7001 (Fax)
 Email: elizabeth.a.young@usdoj.gov                                                 mark.ledwin@wilsonelser.com

                                                                                    ATTORNEYS FOR THE HARTFORD


                                                                                        /s/ Jeff P. Prostok
                                                                                        Jeff P. Prostok

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Debtors’ Expedited Motion for Entry of Order (i) Authorizing Debtors to Continue Pre-Petition Insurance Programs
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                                                        Exhibit A


  Carrier        Type of             Policy Period          Deductible or   Policy Limits       Annual        Owed
                Insurance                                       SIR                            Premium      Premiums
The         Auto Liability    May 18, 2022 to May 18,     $250,000.00       $1,000,000.00   $989,691.00   $200,102.94
Hartford                      2023
            Policy No:
            46 CSF WQ0255
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                                 Exhibit B

                              Proposed Order
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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION
_____________________________________
In re:                                §      Chapter 11
                                      §
NGV GLOBAL GROUP, INC., et al.,1      §      Case No. 22-42780-MXM-11
                                      §
            Debtors.                  §      (Jointly Administered)
____________________________________ §

       ORDER GRANTING DEBTORS’ EXPEDITED MOTION FOR ENTRY OF ORDER (I)
    AUTHORIZING DEBTORS TO CONTINUE PRE-PETITION INSURANCE PROGRAMS WITH
      THE HARTFORD, (II) AUTHORIZING DEBTORS TO PAY PRE-PETITION PREMIUMS
           AND RELATED OBLIGATIONS, AND (III) GRANTING RELATED RELIEF


           On this day the Court considered the Debtors’ Expedited Motion for Entry of Order (i)

Authorizing Debtors to Continue Pre-Petition Insurance Programs with The Hartford, (ii)

Authorizing Debtors to Pay Pre-Petition Premiums and Related Obligations, and (iii) Granting

Related Relief [Docket No. ___] (the “Motion”)2 filed by (“NGV Global”), Natural Gas Vehicles

Texas, Inc. (“NGV Texas”), Natural Gas Supply, LLC (“NGS”), and Natural Gas Logistics Inc.

1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: NGV Global Group, Inc. (9723), Natural Gas Vehicles Texas, Inc. (8676), Natural Gas Supply, LLC
(4584) and Natural Gas Logistics Inc. (5403).
2   Capitalized terms not otherwise defined herein have the definition ascribed in the Motion.


Order Granting Debtors’ Expedited Motion for Entry of Order (i) Authorizing Debtors to
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(“NGL”, and collectively with NGV Global, NGV Texas, and NGS, the “Debtors”), as debtors and

debtors-in-possession in these Bankruptcy Cases.

        The Court, having reviewed the Motion and having considered the evidence presented

and the arguments of counsel at a hearing on the Motion, the Court hereby finds: (a) the Court

has jurisdiction to consider the Motion and the relief requested therein in accordance with 28

U.S.C. §§ 157 and 1334; (b) the Motion is a core proceeding under 28 U.S.C. § 157(b)(2)(A)

and (O); (c) adequate and appropriate notice of the Motion and the hearing on the Motion has

been given; (d) the relief sought in this Motion is in the best interests of the Debtors’ estates,

their creditors, and other parties in interest, (e) the Debtors have demonstrated good, sufficient,

and sound business purpose and justification for the relief requested in the Motion, and (f) the

legal and factual bases set forth in the Motion establish just cause for the relief granted herein.

        Accordingly, it is hereby ORDERED that:

        1.       The Motion is granted.

        2.       The Debtors are authorized to (a) pay half of the Owed Premiums to Hartford

within ten (10) days after entry of this Order, and the remaining half of the Owed Premiums to

Hartford within twenty (20) days after entry of this Order, and to (b) continue operating under the

Policy and making post-petition premium and Loss Claim payments when and as due.

        3.       If the Debtors fail to timely make any payment described in paragraph 2 hereof,

Hartford may provide written notice of any such missed payment to counsel for the Debtors. If

the Debtors fail to cure any such deficiency within ten (10) days after receipt of such notice, the

automatic stay provisions of Bankruptcy Code section 362(a) shall automatically lift to permit

Hartford to send a notice of cancellation to the Debtors under applicable law.

        4.       Upon entry of this Order, the Debtors shall provide Hartford with a “No Known

Loss” letter confirming that no new claims have been incurred under the Policy.

        5.       The Policy is hereby deemed to be continuing and uninterrupted, including since



Order Granting Debtors’ Expedited Motion for Entry of Order (i) Authorizing Debtors to
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the Petition Date, and the Notice of Cancellation is hereby deemed withdrawn.

            6.           The fourteen-day stay under Bankruptcy Rule 6004(h) is waived. The terms of

this Order shall be immediately effective and enforceable upon entry of this Order.

            7.           Nothing herein shall be construed to constitute an assumption of the Policy or

any other agreement under section 365 of the Bankruptcy Code.

            8.           This Court shall retain jurisdiction to hear and determine all matters arising from

the implementation of this Order.

                                                            ### END OF ORDER ###


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Order Granting Debtors’ Expedited Motion for Entry of Order (i) Authorizing Debtors to
Continue Pre-Petition Insurance Programs With The Hartford, and (ii) Authorizing Debtors
to Pay Pre-Petition Premiums and Related Obligations, and (iii) Granting Related Relief.                                          Page 3
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Limited Service List                  NGV Global Group, Inc., et al.         Erin Schmidt, Trial Attorney
NGV Global, et al.                    Attn: Farroukh Zaidi, CEO              Office of the U.S. Trustee
                                      10733 Spangler Road                    1100 Commerce St., Room 976
#6321
                                      Dallas, TX 75222                       Dallas, TX 75202



FirstCapital Bank of Texas, N.A.      Tom McLeod Software Corp.              Ford Motor Credit Company, LLC
5580 LBJ Freeway, Suite 100           100 Corporate Parkway, Suite 100       PO Box 680020, MD 610
Dallas, TX 75240                      Birmingham, AL 35242                   Franklin, TN 37068




Maplemark Bank                        Bank of DeSoto, NA                     Mike Albert, Ltd.
4143 Maple Ave., Suite 100            PO Box 7777                            10340 Evendale Dr.
Dallas, TX 75219                      DeSoto, TX 75123                       Cincinnati, OH 45241




Simmons Bank                          Tristate Capital Bank                  Vision Financial Group, Inc.
4625 S National Ave.                  One Oxford Centre                      615 Iron City Drive
Springfield, MO 65810                 301 Grant St., Suite 2700              Pittsburgh, PA 15205
                                      Pittsburgh, PA 15219



Internal Revenue Service              AmeriCredit Financial Services, Inc.   Ford Motor Credit Company LLC
Centralized Insolvency Operations     dba GM Finance                         c/o National Bankruptcy Service Center
PO Box 21126                          PO Box 183853                          P.O. Box 62180
Philadelphia, PA 19114-0326           Arlington, TX 76096                    Colorado Springs, CO 80962-2180




                                        NGV Global Group, Inc.
                                    20 Largest Unsecured Creditors

Addison Group                         AFCO                                   ANGI
7076 Solutions Center                 5600 North River Rd.                   PO Box 516
Chicago, IL 60677-7000                Suite 400                              Janeville, WI 53547-5216
                                      Rosemont, IL 60018-5187



Archerpoint                           Bridgestone                            Comdata
2405 Satellite Blvd., Suite 225       PO Box 730026                          5301 Mayland Way
Duluth, GA 30096                      Dallas, TX 75373-0026                  Brentwood, TN 37027




Dallas Regional Chamber               Faisal Reza                            Mark Conner, CPA PLLC
500 N. Akard St., Suite 2600          3604 Barrydale Dr.                     PO Box 2709
Dallas, TX 75201                      Denton, TX 76208                       Coppell, TX 75019




OSHA                                  OSI 10737 Spangler Road LLC            OSI 10801 Spangler Road LLC
1100 Campbell Rd., Suite 250          309 East Paces Ferry Rd. NE            309 East Paces Ferry Rd. NE
Richardson, TX 75081                  Suite 60                               Suite 60
                                      Atlanta, GA 30305                      Atlanta, GA 30305
          Case 22-42780-mxm11       Doc 106 Filed 01/13/23 Entered 01/13/23 14:01:33            Desc
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OSI 2001 Manana Drive LLC             Spectrum                            Sunwest Communications Inc.
309 East Paces Ferry Road NE                                              4851 LBJ Freeway
Suite 60                                                                  Dallas, TX 75224
Atlanta, GA 30305



Tara Energy                           TEKSwork                            The Carbon Agency
4925 Greenville Ave.                  118 South 3rd St.                   802 N. Kealy Ave., Suite 200
Dallas, TX 75206                      Williamburg, KY 40769               Lewisville, TX 75057-3136




                                    Natural Gas Vehicles Texas, Inc.
                                    20 Largest Unsecured Creditors

1-800-Radiator & A/C                  Cavalier Co.                        Continental Tire
2626 Northhaven Road                  196 Mark Lane                       1830 MacMillian Park Dr.
Dallas, TX 75229                      Royse City, TX 75189                Fort Mill, SC 29707




Cummins                               Daltex Trailer Repair               Fleetpride Truck and Trailer Park
PO Box 772642                         3124 Partridge Ct.                  601 W Mockingbird Lane
Detroit, MI 48277-2642                Grand Prairie, TX 75052             Dallas, TX 75247




Geoff Beveridge                       HYLIION                             Imperial Supplier LLC
661 E Main St., Suite 200             1202 BMC Dr., Suite 100             PO Box 5362
Midlothian, TX 76065                  Cedar Park, TX 78613                Janeville, WI 53547-5362




Marcel Pradella                       Premier Truck Group of Dallas No.   Recappers (V)
2124 Dogwood Creek Ave.               PO Box 840827                       2360 East Grauwyler
Yukon, OK 73099                       Dallas, TX 75284-0827               Irving, Texas 75061




Rush Enterprises                      Snap On                             Southern Tire Mart
109 Cundiff Dr.                       12617 E FM917 Suite E               816 W Mockingbird Dr.
Seagoville, TX 75159                  Alvarado, TX 76009                  Dallas, TX 75247




Southwest International Truck (V)     U-line                              Unifirst
3722 Irving Blvd.                     PO Box 88741                        PO Box 650841
Dallas, TX 75247                      Chicago, IL 60680-1741              Dallas, TX 75265-0481




Valvoline                             Z & Son Transmission
3221 East Arkansas Lane               10418 C.F. Hawn Frwy
Arlington, Texas 76010                Dallas, TX 75217
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                                     Natural Gas Supply, LLC
                                  20 Largest Unsecured Creditors

Comdata
5301 Mayland Way, Suite 100
Brentwood, TN 37027




                                     Natural Gas Logistics Inc.
                                  20 Largest Unsecured Creditors

Advantage Trailer Rentals           Boscus Canada Inc.                Comdata
PO Box 772320                       900 Avenue Selkirk                5301 Mayland Way
Detroit, MI 48277                                                     Brentwood, TN 37027
                                    Pointe-Clair QC H9R3S3



Crossroads Trailer Service Inc.     Crum & Foster                     DCLI
226 Irby Lane                       855 Winding Brook Dr.             3525 Whitehall Park Dr.
Irving, TX 75061                    Glastonbury, CT 06033             Charlotte, NC 02827




Enrique Joya                        Escreen                           Hartford Financial Services
                                    PO Box 25902                      PO Box 415738
                                    Overland Park, KS 66225           Boston, MD 02241-5738




J.J. Keller                         Kay Polymer Trucking              Lockton
PO Box 6609                         1919 FM 565                       PO Box 123036
Carol Stream, IL 60197              Baytown, TX 77523                 Dallas, TX 75312-3036




Loves                               McKinney Trailer Rentals          McLeod Software
PO Box 842568                       PO Box 515574                     Dept. 3500
Kansas City, MO 64184               Los Angeles, CA 90051             Birmingham, AL 35283




Mike Hendrixson                     Perez Luis Manuel Hernandez       Samba Holdings Inc.
4819 Osprey Dr.                     c/o Paul R. Hornung               Dept. LA 24536
Orange Beach, AL 36561              Domingo A. Garcia PC              Pasadena, CA 91185
                                    1111 W Mockingbird Ln, Ste 1200
                                    Dallas, TX 75247

Tonya Singh                         TRAC Intermodal
c/o Jim S. Adler & Associates       750 College Road East
2711 N. Haskell, Suite 2500         Princeton, NJ 08540
Dallas, TX 75204
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                          NOTICES OF APPEARANCE/PROOFS OF CLAIM


Mike Albert, Ltd.                      Mike Albert, Ltd.                     FirstCapital Bank of Texas, N.A.
c/o Patrick M. Lynch, Esq.             c/o Robert G. Sanker, Esq.            c/o Jared Knight, B. Hartman, C. Miller
Quilling, Selander, et al.             Keating Muething & Klekamp PLL        Morgan Williamson LLP
2001 Bryan St., Suite 1800             One East Fourth St., Suite 1400       701 S. Taylor, Suite 324
Dallas, TX 75201                       Cincinnati, OH 45202                  Amarillo, TX 79101

OSI 10801 Spangler, LLC, OSI 10737     Dallas County                         Bank of DeSoto, N.A.
Spangler, LLC, OSI 202 Mana Dr, LLC    c/o John K. Turner                    c/o Law Office of Vicki K. McCarthy
c/o Mark Stromberg                     Linebarger Goggan, et al.             114 South 5th Street
Stromberg Stock PLLC
                                       2777 N. Stemmons Fwy, Suite 1000      Midlothian, TX 76065
8350 N Central Expwy, Suite 1225
Dallas, TX 75206
                                       Dallas, TX 75207


Mitsubishi HC Capital America, Inc.    Ford Motor Credit Company LLC         MapleMark Bank
c/o Matthew F. Kye, Esq                c/o Stephen G. Wilcox                 c/o Trey A. Monsour
Kye Law Group, P.C.                    Wilcox Law, PLLC                      Fox Rothschild LLP
201 Old Country Rd, Suite 120          PO Box 201849                         2501 N. Hartwood St., Suite 1800
                                                                             Dallas, TX 75201
Melville, NY 11747                     Arlington, TX 76006

DalTex Trailer Repair                  Premier Truck Group of Dallas North   Uline
c/o Mark B. French                     c/o Marilee A. Madan, Esq.            12575 Uline Drive
Law Office of Mark B. French           5485 Belt Line Rd., Suite 290         Pleasant Prairie, WI 53158
1901 Central Dr., Suite 704            Dallas, TX 75254
Bedford, TX 76021

Fastenal Company                       Bartow B Duncan III, Esq.
Attn: Legal                            Arnall Golden Gregory LLP
2001 Theurer Blvd.                     171 17th St. NW, Suite 2100
Winona, MN 55987                       Atlanta, GA 30363
